Case 17-29009-RG       Doc 10     Filed 10/03/17 Entered 10/03/17 15:16:31            Desc Main
                                  Document      Page 1 of 1




                                               Certificate Number: 06531-NJ-CC-029796793


                                                              06531-NJ-CC-029796793




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 28, 2017, at 4:27 o'clock PM CDT, Joseph Fantasia
received from Allen Credit and Debt Counseling Agency, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the District of New
Jersey, an individual [or group] briefing that complied with the provisions of 11
U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 28, 2017                        By:      /s/Laura Stevens


                                               Name: Laura Stevens


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
